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                 IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                         IN AND FOR HILLSBOROUGH COUNTY, FLORIDA
                                   CIRCUIT CIVIL DIVISION

         DEBRYNNA GARRETT, ALEXANDER C. ROBERTS,
         TIMOTHY DIXON, JR., KONICA RITCHIE,
         JESSICA YOUNG, LAMOND RICHARDSON,
         ANGELA CANSINO, JOHNNY OLDEN,
         KATRINA EVANS, DANIEL WALKER,
         TODD ALEXANDER, ELTON GOULD,
         LAMEKA DOTSON, NICHOLAS COLLINS,
         REMEAL EUBANKS, TANIA PAUL,
         GABRIELLE MURRELL, COURTNEY NELSON,
         individually and on behalf of all others similarly situated,

                        Plaintiffs,

         v.                                                                 Case No.: 20-CA-001146

         FACEBOOK, INC., and COGNIZANT
         TECHNOLOGY SOLUTIONS U.S. CORPORATION,

                     Defendants.
         _______________________________________________/

              AMENDED CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

                Plaintiffs DEBRYNNA GARRETT, ALEXANDER C. ROBERTS, TIMOTHY DIXON,

         JR., KONICA RITCHIE, JESSICA YOUNG, LAMOND RICHARDSON, ANGELA CANSINO,

         JOHNNY OLDEN, KATRINA EVANS, DANIEL WALKER, TODD ALEXANDER, ELTON

         GOULD, LAMEKA DOTSON, NICHOLAS COLLINS, REMEAL EUBANKS, TANIA PAUL,

         GABRIELLE MURRELL and COURTNEY NELSON (“Plaintiffs”) hereby sue the Defendants,

         FACEBOOK, INC. (“Facebook”), and COGNIZANT TECHNOLOGY SOLUTIONS U.S.

         CORPORATION (“Cognizant”) (collectively, “Defendants”) to protect themselves and all others

         similarly situated from the dangers of psychological trauma resulting from Defendants’ failure to

         provide a safe workplace for the thousands of “content moderators” who are entrusted to provide

         the safest environment possible for Facebook users.


                                                  · LECHNER LAW ·
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                                         BACKGROUND

       1.      Every day, Facebook users post millions of videos, images, and livestreamed

broadcasts of child sexual abuse, rape, torture, bestiality, beheadings, suicide, racist violence and

murder. To maintain a sanitized platform, maximize its already vast profits, and cultivate its public

image, Facebook relies on people like Plaintiffs – known as “content moderators” – to view those

posts and remove any that violate the corporation’s terms of use.

       2.      From their cubicles during the overnight shift in Cognizant’s Tampa and Phoenix

offices, Plaintiffs witnessed thousands of acts of extreme and graphic violence. As another

Facebook content moderator recently told the Guardian, “You’d go into work …, turn on your

computer and watch someone have their head cut off. Every day, every minute, that’s what you

see. Heads being cut off.”

       3.      As a result of constant and unmitigated exposure to highly toxic and extremely

disturbing images through Facebook’s content review systems, Plaintiffs and other class members

developed and suffer from significant psychological trauma and/or post-traumatic stress disorder

(“PTSD”).

       4.      In an effort to cultivate its image, Facebook helped draft workplace safety standards

to protect content moderators like Plaintiffs and the proposed class from workplace trauma and

associated adverse consequences, which include pre-hiring psychological screening; providing

moderators with robust and mandatory counseling and mental health support; altering the

resolution, audio, size, and color of trauma-inducing images; and training moderators to recognize

the physical and psychological symptoms of PTSD.

       5.      Other recommended safety standards include: having content moderators work in

pairs or teams rather than alone; improving working conditions by not focusing solely on



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efficiency and productivity; and providing additional breaks or “wellness time” during periods of

extraordinary stress. In addition, Cognizant employees requested to change their queues. For

example, several content moderators asked the company to change which queues they were

assigned, whereby Workforce Management could periodically place a moderator in less graphic

queues, such as regulated goods. Defendants failed to implement any of these safety standards.

       6.      But Defendants ignore the very workplace safety standards they helped create.

Instead, the multibillion-dollar corporations affirmatively require their content moderators to work

under conditions known to cause and exacerbate psychological trauma.

       7.      Facebook contracts with companies like Cognizant to serve as its agent responsible

for finding, hiring and employing the moderators, and then laying them off when the contract

expires, thereby attempting to absolve Defendants of accountability for the mental health of

(offering no psychological support to) their workers after they are laid off. In fact, Cognizant has

shut down its Tampa and Phoenix offices in February 2020, laying off its workforce and leaving

content moderators, including Plaintiffs, with no means of obtaining requisite ongoing medical

monitoring, screening, diagnosis, or adequate treatment after suffering psychological trauma

during their employment.

       8.      By requiring their content moderators to work in dangerous conditions that cause

debilitating physical and psychological harm and then laying them off when the contract expires

in order to absolve themselves of accountability for their mental health issues, Defendants violate

Florida and Arizona law.

       9.      Without this Court’s intervention, Defendants will continue to breach the duties

they owe to the content moderators who review content on Facebook’s platforms.

       10.     Content moderators are essentially the first responders of the internet, performing



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a critical function on a platform with billions of users. Many times, moderators are the first to see

emergency situations and report them to Facebook to report to local authorities. Plaintiffs were

specifically referred to as “first responders,” and Facebook compiles statistics about how

moderators assist law enforcement. Plaintiffs and the other content moderators, at a minimum,

deserve the same protections as other first responders, which includes workers’

compensation/health coverage for the PTSD caused by the working conditions.

        11.    On behalf of themselves and all others similarly situated, Plaintiffs bring this action

(1) to ensure that Defendants cease to engage in these unlawful and unsafe workplace practices

and instead provide content moderators with safe tools, systems, and mandatory ongoing mental

health support, (2) to establish a medical monitoring fund for testing and providing mental health

treatment to the thousands of current and former content moderators affected by Defendants’

unlawful practices, and (3) to provide monetary compensation to the thousands of current and

former content moderators for the lost wages and medical and mental health expenses incurred as

a result of the Defendants’ unlawful practices.

                                 JURISDICTION AND VENUE

        12.    This is an action for damages in excess of $30,000.00, exclusive of interest, costs,

and equitable relief.

        13.    Venue is proper in this Court because the unlawful conduct giving rise to the claims

herein occurred within this judicial district, and at least one Defendant is located in this judicial

district.

        14.    This Court has personal jurisdiction over Cognizant because the corporation

operates, conducts, engages in, and carries on a business venture in this state and has an office in

this judicial circuit, at 7725 Woodland Center Blvd., Tampa, FL 33614, and regularly conducts



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substantial business there, committed a tortious act within Florida, and engages in substantial and

not isolated activity within Florida.

       15.     This Court has personal jurisdiction over Facebook because the corporation

operates, conducts, engages in, and carries on a business venture in this state and has an office in

this state, located at 701 Brickell Ave., Miami, Florida 33131, and regularly conducts substantial

business there and throughout the state, committed a tortious act within Florida, and engages in

substantial and not isolated activity within Florida.

                                             PARTIES

       16.     Plaintiffs Garrett, Roberts, Dixon, Ritchie, Young, Richardson, Cansino, Olden,

Evans, Walker, Alexander, Dotson, Collins, Eubanks, Paul, Murrell and Nelson are residents of

Hillsborough County, Florida. Plaintiff Gould is a resident of Pasco County, Florida. Plaintiff

Roberts is a citizen of Arizona.

       17.     Defendant Facebook provides “products that enable people to connect and share

with friends and family through mobile devices, personal computers, and other surface” or “to

share their opinions, ideas, photos and videos, and other activities with audiences ranging from

their closest friends to the public at large.” Facebook is a publicly traded corporation incorporated

under the laws of Delaware, with its headquarters located at 1601 Willow Road, Menlo Park,

California, 94025.

       18.     Defendant Cognizant is a professional services vendor that employed

approximately 800 workers at its Facebook content moderation site in Tampa. Cognizant is a

publicly traded corporation incorporated under the laws of Delaware, with its headquarters located

at 211 Quality Circle, College Station, TX 77845.




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                                  FACTUAL ALLEGATIONS

A.     Content moderators watch and remove some of the most depraved images on the
       internet to protect users of Facebook’s products from trauma-inducing content.

       19.     Content moderation is the practice of removing online material that violates the

terms of use for social networking sites or applications like Facebook.com and Instagram.

       20.     Instead of scrutinizing content before it is published to its users, Facebook primarily

relies on users to report inappropriate content. Facebook receives more than one million user

reports of potentially objectionable content on its social media sites and applications every day.

Human moderators review the reported content – sometimes thousands of videos and images every

shift – and remove those that violate Facebook’s terms of use.

       21.     After content is flagged, Facebook’s algorithms direct it to a content moderator,

who then reviews it using a platform developed by Facebook.

       22.     Facebook asks content moderators to review more than 10 million potentially rule-

breaking posts per week via its review platforms. Facebook seeks to ensure all user-reported

content is reviewed within 24 hours of a report and with an overall error rate of less than one

percent.

       23.     Facebook has developed and continually revises hundreds of rules that content

moderators use to determine whether flagged content – i.e., posts, comments, messages, images,

videos, advertisements, etc. – violates Facebook’s policies.

       24.     Facebook has also developed expectations for the amount of time a content

moderator should need to review different types of flagged content.

       25.     According to Monika Bickert, head of global policy management at Facebook,

Facebook conducts weekly audits of every content moderator’s work to ensure that its content

rules are being followed consistently.

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       26.     In August 2015, Facebook rolled out Facebook Live, a feature that allows users to

broadcast live video streams on their Facebook pages. Mark Zuckerberg, Facebook’s chief

executive officer, considers Facebook Live to be instrumental to the corporation’s growth. Mr.

Zuckerberg has been a prolific user of the feature, periodically “going live” on his own Facebook

page to answer questions from users.

       27.     But Facebook Live also provides a platform for users to livestream murder,

beheadings, torture, and even their own suicides, including the following:

   ● In late April 2017, a father killed his 11-month-old daughter and livestreamed it before

       hanging himself. Six days later, Naika Venant, a 14-year-old who lived in a foster home,

       tied a scarf to a shower’s glass doorframe and hung herself. She streamed the whole suicide

       in real time on Facebook Live. Then in early May, a Georgia teenager took pills and placed

       a bag over her head in a suicide attempt. She livestreamed the attempt on Facebook and

       survived only because viewers watching the event unfold called police, allowing them to

       arrive before she died.

   ● On March 15, 2019, the horrific mass shooting in Christchurch, New Zealand, which killed

       50 people at two mosques, was livestreamed on Facebook as the shooter pulled up to a

       mosque in Christchurch, New Zealand, grabbed guns out of his vehicle and stormed inside,

       opening fire on worshipers. By the time Facebook removed the 17-minute video, it had

       been viewed roughly 4,000 times, the company said.

       28. Facebook understands the dangers associated with a person watching this kind of

imagery.

       29.     In the context of protecting users from this kind of content, Mr. Zuckerberg

announced on May 3, 2017:



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       “Over the last few weeks, we’ve seen people hurting themselves and others on
       Facebook—either live or in video posted later. Over the next year, we’ll be adding
       3,000 people to our community operations team around the world – on top of the
       4,500 we have today – to review the millions of reports we get every week, and
       improve the process for doing it quickly.

       These reviewers will also help us get better at removing things we don’t allow on
       Facebook like hate speech and child exploitation. And we’ll keep working with
       local community groups and law enforcement who are in the best position to help
       someone if they need it – either because they’re about to harm themselves, or
       because they’re in danger from someone else.”

       30.     According to Sheryl Sandberg, Facebook’s chief operating officer, “Keeping

people safe is our top priority. We won’t stop until we get it right.”

       31.     Today, approximately 15,000 content moderators around the world review content

via Facebook’s review platforms.

       32.     Most of these 15,000 content moderators, like Plaintiffs and the proposed class

here, are employed by third-party vendors of Facebook and are not Facebook employees.

       33.     For many reasons, including short-term contracts and the trauma associated with

the work, most content moderators – like Plaintiffs – remain in the position for short periods of

time. When the contractors’ contracts expire, the content moderators are laid off and abandoned

by Defendants, with no access to adequate or ongoing mental health services or psychological

support.

B.     Repeated exposure to graphic imagery can cause devastating psychological trauma,
       including PTSD.

       34.     It is well known that exposure to images of graphic violence can cause debilitating

injuries, including PTSD.

       35.     In a study conducted by the National Crime Squad in the United Kingdom, 76

percent of law enforcement officers surveyed reported feeling emotional distress in response to

exposure to child abuse on the internet. The same study, which was co-sponsored by the United

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Kingdom’s Association of Chief Police Officers, recommended that law enforcement agencies

implement employee support programs to help officers manage the traumatic effects of exposure

to child pornography.

       36.     In a study of 600 employees of the Department of Justice’s Internet Crimes Against

Children task force, the U.S. Marshals Service found that a quarter of the cybercrime investigators

surveyed displayed symptoms related to psychological trauma, including from secondary

traumatic stress.

       37.     Another study of cybercrime investigators from 2010 found that “greater exposure

to disturbing media was related to higher levels of . . . secondary traumatic stress” and that

“substantial percentages” of investigators exposed to disturbing media “reported poor

psychological well-being.”

       38.     The Eyewitness Media Hub has also studied the effects of viewing videos of

graphic violence, including suicide bombing, and found that“40 percent of survey respondents said

that viewing distressing eyewitness media has had a negative impact on their personal lives.”

       39.     Whereas viewing or hearing about another person’s traumatic event used to be

considered “secondary traumatic stress,” the current Diagnostic and Statistical Manual of Mental

Disorders (American Psychiatric Association, 5th ed. 2013) (“DSM-5”) recognizes that secondary

or indirect exposure to trauma, such as repeated or extreme exposure to aversive details of trauma

through work-related media, meets the first diagnostic criterion for PTSD.

       40.     It is well established that stressful work conditions, such as especially demanding

job requirements or a lack of social support, reduce resilience in the face of trauma exposure and

increase the risk of developing debilitating psychological symptoms.

       41.     Depending on many factors, individuals who have experienced psychological



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 trauma may develop a range of subtle to significant physical and psychological symptoms,

 including extreme fatigue, disassociation, difficulty sleeping, excessive weight gain, anxiety,

 nausea, and other digestive issues.

         42.     Trauma exposure and PTSD are also associated with increased risk of chronic

 health problems including cardiovascular problems, strokes, pain syndromes, diabetes, epilepsy,

 and dementia.

         43.     There is growing evidence that early identification and treatment of PTSD is

 important from a physical health perspective, as a number of meta-analyses have shown increased

 risk of cardiovascular, metabolic, and musculoskeletal disorders among patients with long-term

 PTSD.

         44.     Psychological trauma and/or PTSD are also often associated with the onset or

 worsening of substance use disorders. Epidemiologic studies indicate that one-third to one-half of

 individuals with PTSD also have a substance use disorder. Compared to individuals without PTSD,

 those with PTSD have been shown to be more than twice as likely to meet the diagnostic criteria

 for alcohol abuse or dependence; individuals with PTSD are also three to four times more likely

 to meet the diagnostic criteria for drug abuse or dependence.

         45.     PTSD symptoms may manifest soon after the traumatic experiences, or they may

 manifest later in life, sometimes months or years after trauma exposure.

         46.     An individual’s risk of developing PTSD or associated symptoms may be reduced

 through prevention measures, which include primary, secondary, or tertiary interventions. Primary

 interventions are designed to increase resilience and lower the risk of future PTSD among the

 general population. Secondary interventions are designed to lower the risk of PTSD among

 individuals who have been exposed to trauma, even if they are not yet showing symptoms of



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 traumatic stress. Finally, tertiary interventions are designed to prevent the worsening of symptoms

 and improve functioning in individuals who are already displaying symptoms of traumatic stress,

 or have been diagnosed with PTSD.

        47.     Individuals who develop PTSD or other mental health conditions following

 traumatic exposure require not only preventative measures but also treatment. Unlike prevention,

 treatment measures are aimed at symptom resolution and recovery from the condition.

        48.     Preliminary screening is necessary to determine which types of prevention or

 treatment measures are most appropriate for an individual.

 C.     Facebook helped craft industry standards for minimizing harm to content
        moderators but failed to implement the very standards it helped create.

        49.     In 2006, Facebook helped create the Technology Coalition, a collaboration of

 internet companies aiming “to develop technology solutions to disrupt the ability to use the Internet

 to exploit children or distribute child pornography.”

        50.     Facebook was a member of the Technology Coalition at all times relevant to the

 allegations herein.

        51.     In January 2015, the Technology Coalition published an “Employee Resilience

 Guidebook for Handling Child Sex Abuse Images” (the “Guidebook”).

        52.     According to the Guidebook, the technology industry “must support those

 employees who are the front line of this battle.”

        53.     The Guidebook recommends that internet companies implement a robust, formal

 “resilience” program to support content moderators’ well-being and mitigate the effects of

 exposure to trauma-inducing imagery.

        54.     With respect to hiring content moderators, the Guidebook recommends:

                a.      In an informational interview, “[u]se industry terms like ‘child sexual abuse

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                   imagery’ and ‘online child sexual exploitation’ to describe subject matter.”

            b.     In an informational interview, “[e]ncourage candidate to go to websites

                   [like the National Center for Missing and Exploited Children] to learn about

                   the problem.”

            c.     In follow-up interviews, “[d]iscuss candidate’s previous experience/

                   knowledge with this type of content.”

            d.     In follow-up interviews, “[d]iscuss candidate’s current level of comfort

                   after learning more about the subject.”

            e.     In follow-up interviews, “[a]llow candidate to talk with employees who

                   handle content about their experience, coping methods, etc.”

            f.     In follow-up interviews, “[b]e sure to discuss any voluntary and/or

                   mandatory counseling programs that will be provided if candidate is hired.”

      55.   With respect to safety on the job, the Guidebook recommends:

            a.     Limiting the amount of time an employee is exposed to child sexual abuse

                   imagery;

            b.     Teaching moderators how to assess their own reaction to the images;

            c.     Performing a controlled content exposure during the first week of

                   employment with a seasoned team member and providing follow up

                   counseling sessions to the new employee;

            d.     Providing mandatory group and individual counseling sessions

                   administered by a professional with specialized training in trauma

                   intervention; and

            e.     Permitting moderators to “opt-out” from viewing child sexual abuse



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                       imagery.

        56.     The Technology Coalition also recommends the following practices for minimizing

 exposure to graphic content:

                a.     Limiting time spent viewing disturbing media to “no more than four

                       consecutive hours;”

                b.     “Encouraging switching to other projects, which will allow professionals to

                       get relief from viewing images and comeback recharged and refreshed;”

                c.     Using “industry-shared hashes to more easily detect and report [content]

                       and in turn, limit employee exposure to these images. Hash technology

                       allows for identification of exactly the same image previously seen and

                       identified as objectionable;”

                d.     Prohibiting moderators from viewing child pornography one hour before

                       the individuals leave work; and

                e.     Permitting moderators to take time off as a response to trauma.

        57.     According to the Technology Coalition, if a company contracts with a third-party

 vendor to perform duties that may bring vendor employees in contact with graphic content, the

 company should clearly outline procedures to limit unnecessary exposure and should perform an

 initial audit of the independent contractor’s wellness procedures for its employees.

        58.     The National Center for Missing and Exploited Children (“NCMEC”) also

 promulgates guidelines for protecting content moderators from psychological trauma. For

 instance, NCMEC recommends changing the color or resolution of the image, superimposing a

 grid over the image, changing the direction of the image, blurring portions of the image, reducing

 the size of the image, and muting audio.



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        59.     Based on these industry standards, some internet companies take steps to minimize

 harm to content moderators. However, Defendants do not take any of the mitigating set forth

 above. Cognizant did not even conduct any psychological evaluations on new employees,

 including Plaintiffs, to determine if they were a good fit for the job. Although there are counselors

 on staff, they do not provide any real counseling services. In fact, management was told to monitor

 how much time employees spent with counselors in order to discourage use of counseling services.

        60.     Content moderators review thousands of traumatic images each day through

 Facebook’s review platforms without the benefit of these known safeguards and with little training

 on how to handle the resulting distress.

        61.     In addition, Facebook sets overarching standards relating to the timeframe for and

 accuracy of review.

        62.     Plaintiffs and other content moderators at the Tampa and Phoenix Cognizant

 facilities faced relentless pressure from their bosses to better enforce Facebook’s community

 standards, which receive near-daily updates that leave its contractor workforce in a perpetual state

 of uncertainty.   The Tampa site, which has been accurately referred to in the press as a

 “sweatshop,” has routinely failed to meet the 98 percent “accuracy” target set by Facebook. With

 a score hovering around 92, it has been Facebook’s worst-performing site in North America.

        63.     In mid-2019, a “Wellness Summit” was held, where Facebook displayed the

 productivity statistics for its content moderator contractors. Cognizant was on the bottom of the

 list. After this Summit, Cognizant issued directives to begin writing up employees for lack of

 production and taking too much “wellness” time.

        64.     Following the Wellness Summit, employees, including Plaintiffs, were being

 pushed hard. Employees were expected to review 300 pieces of content per day. Employees were



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 being written up for lack of production and taking too much “wellness” time (e.g. time to

 “decompress” during a shift). These write ups were based on a directive from Cognizant, which

 originally came from Facebook

        65.     Facebook understands that its standards impose intense pressure and stress on

 content moderators, and that such stress contributes to and exacerbates content moderators’ risk of

 developing psychological trauma.

        66.     As one moderator described the job:

        “[The moderator] in the queue (production line) receives the tickets (reports)
        randomly. Texts, pictures, videos keep on flowing. There is no possibility to know
        beforehand what will pop up on the screen. The content is very diverse. No time is
        left for a mental transition. It is entirely impossible to prepare oneself
        psychologically. One never knows what s/he will run into. It takes sometimes a few
        seconds to understand what a post is about. The agent is in a continual situation of
        stress. The speed reduces the complex analytical process to a succession of
        automatisms. The moderator reacts. An endless repetition. It becomes difficult to
        disconnect at the end of the eight-hour shift.”

        67.     Facebook also demands that its content moderation vendors, including Cognizant,

 require their employees to sign sweeping Non-Disclosure Agreements (“NDAs”). Facebook

 further requires its vendors to provide Facebook-developed training to all content moderators to

 instruct the moderators not to speak about the content or workplace conditions to anyone outside

 of their review team. By prohibiting content moderators from discussing their work or seeking

 outside social support, Facebook impedes the development of resiliency and increases the risk that

 moderators will develop psychological trauma.

        68.     The results of an in-depth investigation into the dangerous working conditions at

 Cognizant’s Tampa facility and some of the psychological harm suffered by the content

 moderators employed there was published in The Verge in June 2019. For further background

 information, please visit: https://www.theverge.com/2019/6/19/18681845/facebook-moderator-



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 interviews-video-trauma-ptsd-cognizant-tampa and https://www.cnn.com/videos/business/2019/

 06/23/former-facebook-moderator-blows-the-whistle.cnn.

 E.     Plaintiffs Garrett’s individual allegations.

        69.     From approximately July 2018 until the present, Plaintiff Garrett worked as a

 Process Executive (a/k/a Facebook Content Moderator) at Cognizant’s offices at 7725 Woodland

 Center Blvd., Tampa, FL 33614.

        70.     During this period, Plaintiff Garrett was employed by Cognizant.

        71.     At all times relevant to this complaint, Cognizant was an independent contractor of

 Facebook.

        72.     Cognizant directly oversaw all human resources matters concerning Ms. Garrett.

        73.     Ms. Garrett has never been employed by Facebook in any capacity and never

 received any wages or employee benefits package (e.g., wellness benefits, paid time off, parental

 financial assistance) from Facebook.

        74.     During her employment as a content moderator, Ms. Garrett was exposed to

 thousands of images, videos, and livestreamed broadcasts of graphic violence, including

 beheadings, mutilations, terrorist killings and torture, rapes and murders.

        75.     On the night of March 9, 2018, Mr. Roberts’s coworker, Keith Utley, had a heart

 attack and died at his desk during Mr. Roberts’s shift. Management came in and instructed

 everyone that they could not speak about it with anyone. Cognizant never disclosed what Mr.

 Utley was watching when he died, nor did it taking any apparent mitigating steps to ensure this

 does not happen again to other content moderators.

        76.     Ms. Garrett and other content moderators in Tampa and Phoenix receive two 15-

 minute breaks and a 30-minute lunch each day, along with nine minutes per day of “wellness” time



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 that they purportedly can use when they feel overwhelmed by the emotional toll of the job.

        77.     On March 15, 2019, two consecutive terrorist shooting attacks occurred at mosques

 in Christchurch, New Zealand, killing 51 people and injuring 49. The gunman, a white

 supremacist, live-streamed the first 17 minutes of this attack on Facebook Live. Cognizant

 employees, including Ms. Garrett, were forced to watch these horrific images over and over again

 due to its viral nature. Defendants Facebook and Cognizant did not provide support after this event

 and failed to have trauma counselors on site.

        78.     As a result of the extreme working conditions and unrelenting pressure, in Fall

 2018, Ms. Garrett was diagnosed with PTSD. As a result of these impairments, Ms. Garrett went

 out on a leave of absence in or about September 2019.

 E.     Plaintiffs Roberts’ individual allegations.

        79.     From approximately November 2017 until January 19, 2020, Plaintiff Roberts

 worked as a Facebook content moderator at Cognizant’s offices at 2512 West Dunlap Ave.,

 Phoenix, AZ 85021.

        80.     During this period, Plaintiff Roberts was employed by Defendant Cognizant.

        81.     At all times relevant to this complaint, Cognizant was an independent contractor of

 Facebook.

        82.     Cognizant directly oversaw all human resources matters concerning Mr. Roberts.

        83.     Mr. Roberts has never been employed by Facebook in any capacity and never

 received any wages or employee benefits package (e.g., wellness benefits, paid time off, parental

 financial assistance) from Facebook.

        84.     During his employment as a content moderator, Mr. Roberts was regularly exposed

 to thousands of images, videos, and livestreamed broadcasts of graphic violence, including the



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 most vile and disturbing things humans are capable of.

        85.     As a result of the extreme working conditions and unrelenting pressure, Mr. Roberts

 suffers PTSD-related symptoms and was told he needs to be treated for PTSD. He now has

 constant nightmares about content, specifically about brutal murders.

        86.     Many times, Mr. Roberts communicated the personal distress he was suffering to

 “therapy professionals” on site who were purportedly there to provide support. However, these

 “therapy professionals” did not provide support. Mr. Roberts observed that their presence was just

 to keep up appearances to make it seem that support was available due to troubling content.

        87.     The nine minutes per day of “wellness” time that content moderators purportedly

 can use when they feel overwhelmed by the emotional toll of the job is woefully insufficient. If

 an employee exceeds the nine minutes, he or she is penalized for an “occurrence,” which can serve

 as a basis for termination of employment.

 F.     Additional Similarly Situated Plaintiffs

        88.     Plaintiffs Dixon, Ritchie, Young, Richardson, Cansino, Olden, Evans, Walker,

 Alexander, Dotson, Collins, Eubanks, Paul, Gould, Murrell and Nelson were all employed by

 Cognizant as Facebook content moderators and were exposed to thousands of unmitigated images,

 videos, and livestreamed broadcasts of graphic violence, including beheadings, mutilations,

 terrorist killings and torture, rapes and murders and, as a result suffer from PTSD and/or related

 mental health impairments. Thus, all Plaintiffs are in a substantially identical factual situation and

 the questions of law raised herein are applicable to each Plaintiff.

        89.     Plaintiffs have been required to retain the undersigned counsel to represent them in

 this action and are obligated to pay them a reasonable fee for their services.

        90.     Plaintiffs demand a jury trial on all claims.



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                                CLASS ACTION ALLEGATIONS

        91.     Plaintiffs bring this class action individually and on behalf of all Florida and

 Arizona citizens who performed content moderation work for Facebook within the last three years

 as an employee of Cognizant.

        92.     The class is so numerous that joinder of all members is impracticable. Plaintiffs do

 not know the exact size of the class since that information is within the control of Defendants.

        93.     However, upon information and belief, Plaintiffs allege that the number of class

 members is in the thousands. Membership in the class is readily ascertainable from Defendants’

 records, e.g., Cognizant’s employment records and/or Facebook’s records relating to its contract

 with Cognizant or to registered users of its content review platforms.

        94.     Plaintiffs’ claims are typical of the claims of the class, as all members of the class

 are similarly affected by Defendants’ wrongful conduct.

        95.     There are numerous questions of law or fact common to the class, and those issues

 predominate over any question affecting only individual class members. The common legal and

 factual issues include the following:

        a.      Whether Defendants committed the violations of the law alleged herein;

        b.      Whether Defendants participated in and perpetrated the tortious conduct

                complained of herein;

        c.      Whether Plaintiffs and the class are entitled to medical monitoring;

        d.      Whether Plaintiffs and the class are entitled to monetary compensation for the lost

 wages and medical and mental health expenses incurred as a result of the Defendants’ unlawful

 practices.

        e.      Whether Defendants should be ordered to implement and comply with industry



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                guidelines for safety in content moderation.

        96.     The claims asserted by Plaintiffs are typical of the claims of the class, in that the

 representative Plaintiffs, like all class members, were exposed to highly toxic, unsafe, and injurious

 content while providing content moderation services for Facebook. Each member of the proposed

 class has been similarly injured by Defendants’ misconduct.

        97.     Plaintiffs will fairly and adequately protect the interests of the class. Plaintiffs have

 retained attorneys experienced in class actions and complex litigation. Plaintiffs intend to

 vigorously prosecute this litigation. Neither Plaintiffs nor their counsel have interests that conflict

 with the interests of the other class members.

        98. Plaintiffs and the class members have all suffered and will continue to suffer harm

 resulting from Defendants’ wrongful conduct. A class action is superior to other available methods

 for the fair and efficient adjudication of the controversy. Treatment as a class action will permit a

 large number of similarly situated persons to adjudicate their common claims in a single forum

 simultaneously, efficiently, and without the duplication of effort and expense that numerous

 individual actions would engender. Class treatment will also permit the adjudication of claims by

 many members of the proposed class who could not individually afford to litigate a claim such as

 is asserted in this complaint. This class action likely presents no difficulties in management that

 would preclude maintenance as a class action.

                                 FIRST CAUSE OF ACTION
                            INTENTIONAL TORT – COGNIZANT
               (Deliberate Concealment Or Misrepresentation Of Known Danger)

        99.     Plaintiffs repeat and reallege the allegations set forth in Paragraphs 1 through 98 as

 though fully set forth herein.

        100.    Defendant Cognizant had knowledge of the known danger to Plaintiffs and the class



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 by knowingly exposing them to highly toxic, unsafe, and injurious content while providing content

 moderation services for Facebook.

         101.    Defendant Cognizant had knowledge of the known danger to Plaintiffs and the class

 based upon prior similar injuries to other workers as well as explicit warnings by industry groups

 specifically identifying the danger or exposing employees to highly toxic, unsafe, and injurious

 content while providing content moderation services that was virtually certain to cause injury to

 Plaintiffs and the class.

         102.    Based upon these warnings, Cognizant’s actions in exposing employees to highly

 toxic, unsafe, and injurious content while providing content moderation services was virtually

 certain to result in injury to Plaintiffs and the class if proper precautions were not taken. Cognizant,

 despite being aware of the existence of such precautions, intentionally refused to implement such

 precautions.

         103.    Plaintiffs and the class were not aware of the danger caused by providing content

 moderation services for Facebook because it was not apparent and was not disclosed to them by

 Cognizant. Indeed, Cognizant prevented content moderators from discussing the dangers with

 new employees because they were required to sign broad NDAs.

         104.    Cognizant deliberately concealed and misrepresented these dangers to Plaintiffs

 and the class, thereby preventing them from exercising informed judgment as to whether to

 perform the work. Instead, Cognizant advertised the job as a prestigious career in high technology

 that simply required them to become knowledgeable about “leading social media products and

 community standards,” to “assist our community and help resolve inquiries empathetically,

 accurately and on time,” and to “make well balanced decisions and personally driven to be an

 effective advocate for our community.”



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          105.   Cognizant’s actions in knowingly exposing Plaintiffs and the class to highly toxic,

 unsafe, and injurious content while providing content moderation services for Facebook caused

 the injury of the Plaintiffs and the class, including PTSD and other psychological disorders,

 physical injuries including stroke and epilepsy, and other injuries, including lost pay, lost future

 earning capacity, emotional distress and loss of enjoyment of life.

          106.   As a result of Cognizant’s tortious conduct, Plaintiffs and the class are at an

 increased risk of developing serious mental health injuries, including, but not limited to, PTSD, as

 well as associated physical injuries.

          107.   To remedy that injury, Plaintiffs and the class need medical monitoring that

 provides specialized screening, assessment, and treatment not generally given to the public at

 large.

          108.   The medical monitoring regime includes, but is not limited to, baseline screening,

 assessments, and diagnostic examinations that will assist in diagnosing the adverse health effects

 associated with exposure to trauma. This screening and assessment will also inform which

 behavioral and/or pharmaceutical interventions are best suited to prevent or mitigate various

 adverse consequences of post-traumatic stress and other conditions associated with exposure to

 graphic imagery.

          109.   In particular, the medical monitoring regime includes (a) “secondary” preventative

 interventions, designed to reduce the risk of later onset of PTSD among class members who are

 not yet displaying symptoms of PTSD; (b) “tertiary” interventions, designed to reduce the

 worsening of symptoms among those who are experiencing symptoms associated with post-

 traumatic stress or have a diagnosis of PTSD; and (c) evidence-based treatments to facilitate

 recovery from mental health conditions.



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         110.    Monitoring, assessing, and providing preventative interventions and/or treatment

 to Plaintiffs and the class will significantly reduce the risk of long-term injury, disease, and

 economic loss that Plaintiffs and the class suffer as a result of Cognizant’s unlawful conduct.

         111. Plaintiffs seek medical monitoring to facilitate the screening, diagnosis, and adequate

 treatment of Plaintiffs and the class for psychological trauma, including to prevent or mitigate

 conditions such as PTSD.

                                   SECOND CAUSE OF ACTION
                                   NEGLIGENCE - FACEBOOK
                               (Negligent Exercise of Retained Control)

         112.    Plaintiffs repeat and reallege the allegations set forth in Paragraphs 1 through 98 as

 though fully set forth herein.

         113.    The hirer of an independent contractor is liable for its own negligence to an

 employee of the contractor insofar as a hirer’s exercise of retained control affirmatively

 contributed to the employee’s injuries.

         114.    If an entity hires an independent contractor to complete work but retains control

 over any part of the work, the hiring entity has a duty to the independent contractor’s employees

 or subcontractors to exercise that control with reasonable care.

         115.    If the hiring entity negligently exercises its retained control in a manner that

 affirmatively contributes to the injuries of the contractor’s employees or subcontractors, the hiring

 entity is liable for those injuries.

         116.    At all times relevant to the allegations herein, Plaintiffs and class members were

 employees of Cognizant, an independent contractor that Facebook hired to provide content

 moderation services.

         117.    Facebook exercised retained control over certain aspects of the work performed by



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 Plaintiffs and the class, including:

         a.      Requiring content moderators to use Facebook-developed review platforms that

                 presented unmitigated traumatic content to content moderators according to

                 Facebook-developed algorithms;

         b.      Requiring that content moderators – through Cognizant—sign NDAs and undergo

                 Facebook-developed confidentiality trainings that prohibit them from discussing

                 their work outside their review teams; and

         c.      Setting expectations as to the overall timeframe for and accuracy of content review,

                 calculating the amount of time it should take a content moderator to review different

                 types of posts, and deciding the overall number of man hours required to meet the

                 overarching timeframe and accuracy expectations.

         118.    Based on its exercise of retained control, Facebook has had at all relevant times a

 duty to exercise reasonable care with regard to the safety of Plaintiffs and the class.

         119.    Facebook negligently exercised its retained control in a manner that affirmatively

 contributed to the injuries of Plaintiffs and the class, including by exacerbating Plaintiffs’ and class

 members’ risks of developing PTSD or other health issues. For example:

         a.      Facebook failed to provide adequate technological safeguards to protect content

                 moderators from risks associated with exposure to traumatic content via

                 Facebook’s review platforms and algorithms;

         b.      Facebook’s NDAs and confidentiality trainings diminished content moderators’

                 social support networks and resilience by prohibiting content moderators from

                 speaking about the content they reviewed or other related workplace conditions to

                 anyone outside of their review teams; and



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        c.      By setting demanding standards for review, both in terms of quantity and quality

                expectations, Facebook imposed stressful work conditions that serve to further

                reduce content moderators’ resilience to trauma.

        120.    Facebook was aware of the psychological trauma that could be caused by viewing

 video, images, and/or livestreamed broadcasts of child abuse, rape, torture, bestiality, beheadings,

 suicide, murder, and other forms of extreme violence through its review platforms.

        121.    Facebook was also aware or should have been aware that its review platforms could

 be made safer if proper precautions were followed; that requiring content moderators not to discuss

 their work or workplace conditions reduced their ability to deal with traumatic content; and that

 Facebook’s overall quality and quantity standards had the effect of imposing intense workplace

 stress and, accordingly, increasing content moderators’ risk of injury from psychological trauma.

        122.    Facebook breached its duty to Plaintiffs and the class by failing to provide the

 necessary and adequate technological safeguards, safety and instructional materials, warnings,

 social support, and other means to reduce and/or minimize the physical and psychiatric risks

 associated with exposure to graphic imagery through Facebook’s review platform.

        123.    Facebook continues to breach its duty to class members by failing to exercise its

 retained control with reasonable care; that breach continues to elevate class members’ risks of

 injury from psychological trauma.

        124.    As a result of Facebook’s tortious conduct, Plaintiffs and the class are at an

 increased risk of developing serious mental health injuries, including, but not limited to, PTSD,

 and associated physical injuries.

        125.    To remedy that injury, Plaintiffs and the class need medical monitoring that

 provides specialized screening, assessment, and treatment not generally given to the public at



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 large.

          126.   The medical monitoring regime includes, but is not limited to, baseline screening,

 assessments, and diagnostic examinations that will assist in diagnosing the adverse health effects

 associated with exposure to trauma. This screening and assessment will also inform which

 behavioral and/or pharmaceutical interventions are best suited to prevent or mitigate various

 adverse consequences of post-traumatic stress and other conditions associated with exposure to

 graphic imagery.

          127.   In particular, the medical monitoring regime includes (a) “secondary” preventative

 interventions, designed to reduce the risk of later onset of PTSD among class members who are

 not yet displaying symptoms of PTSD; (b) “tertiary” interventions, designed to reduce the

 worsening of symptoms among those who are experiencing symptoms associated with post-

 traumatic stress or have a diagnosis of PTSD; and (c) evidence-based treatments to facilitate

 recovery from mental health conditions.

          128.   Monitoring, assessing, and providing preventative interventions and/or treatment

 to Plaintiffs and the class will significantly reduce the risk of long-term injury, disease, and

 economic loss that Plaintiffs and the class suffer as a result of Facebook’s unlawful conduct.

          129.   Plaintiffs seek medical monitoring to facilitate the screening, diagnosis, and

 adequate treatment of Plaintiffs and the class for psychological trauma, including to prevent or

 mitigate conditions such as PTSD.

                                  THIRD CAUSE OF ACTION
                                  NEGLIGENCE - FACEBOOK
                            (Negligent Provision of Unsafe Equipment)

          130.   Plaintiffs repeat and reallege the allegations set forth in Paragraphs 1 through 98 as

 though fully set forth herein.



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         131.       An entity that hires an independent contractor to complete work is also liable to the

 independent contractor’s employees or subcontractors if the hiring entity negligently provides

 unsafe equipment that contributes to a workplace injury.

         132.       Facebook provided to its independent contractors the review platforms that

 Plaintiffs and the class were required to use to complete their work.

         133.       Facebook had a duty to exercise reasonable care to furnish safe review platforms to

 its contractors.

         134.       Facebook was aware of the psychological trauma that could be caused by viewing

 video, images, and/or livestreamed broadcasts of child abuse, rape, torture, bestiality, beheadings,

 suicide, murder, and other forms of extreme violence through its review platforms.

         135.       Facebook was aware or should have been aware that its review platforms could be

 made safer if proper precautions were followed.

         136.       Facebook nevertheless provided unsafe review tools to the contractor. The review

 platforms presented unmitigated traumatic content to Plaintiffs and the class.

         137. Facebook breached its duty to Plaintiffs and the class by failing to provide the

 necessary and adequate technological safeguards, safety and instructional materials, warnings, and

 other means to reduce and/or minimize the physical and psychiatric risks associated with exposure

 to graphic imagery through Facebook’s review platform.

         138.       Facebook continues to breach its duty to class members by failing to provide a

 reasonably safe review platform; that breach continues to elevate class members’ risks of injury

 from psychological trauma.

         139.       As a result of Facebook’s tortious conduct, Plaintiffs and the class are at an

 increased risk of developing serious mental health injuries, including, but not limited to, PTSD.



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          140.   To remedy that injury, Plaintiffs and the class need medical monitoring that

 provides specialized screening, assessment, and treatment not generally given to the public at

 large.

          141.   The medical monitoring regime includes, but is not limited to, baseline screening,

 assessments, and diagnostic examinations that will assist in diagnosing the adverse health effects

 associated with exposure to trauma. This screening and assessment will also inform which

 behavioral and/or pharmaceutical interventions are best suited to prevent or mitigate various

 adverse consequences of post-traumatic stress and other conditions associated with exposure to

 graphic imagery.

          142.   In particular, the medical monitoring regime includes (a) “secondary” preventative

 interventions, designed to reduce the risk of later onset of PTSD among class members who are

 not yet displaying symptoms of PTSD; (b) “tertiary” interventions, designed to reduce the

 worsening of symptoms among those who are experiencing symptoms associated with post-

 traumatic stress or have a diagnosis of PTSD; and (c) evidence-based treatments to facilitate

 recovery from mental health conditions.

          143.   Monitoring, assessing, and providing preventative interventions and/or treatment

 to Plaintiffs and the class will significantly reduce the risk of long-term injury, disease, and

 economic loss that Plaintiffs and the class suffer as a result of Facebook’s unlawful conduct.

          144.   Plaintiffs seek medical monitoring to facilitate the screening, diagnosis, and

 adequate treatment of Plaintiffs and the class for psychological trauma, including to prevent or

 mitigate conditions such as PTSD.




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                                    THIRD CAUSE OF ACTION
                                  FDUTPA – BOTH DEFENDANTS

        145.    Plaintiffs repeat and reallege the allegations set forth in Paragraphs 1 through 98 as

 though fully set forth herein.

        146.    Section 501.204(1) of the Florida Statutes provides that “unfair or deceptive acts or

 practices in the conduct of any trade or commerce are hereby declared unlawful.” The provisions

 of the Act shall be “construed liberally to promote the protection” of the “consuming public and

 legitimate business enterprises from those who engage in … deceptive[] or unfair acts or practices

 in the conduct of any trade or commerce.” Fla. Stat. § 501.202.

        147.    Defendants were, at all times material to the allegations herein, engaged in “trade

 or commerce” as defined by the Section 501.203.

        148.    Plaintiffs are “persons” within the meaning of Fla. Stat. § 501.211.

        149.    Defendants engaged in unfair or deceptive acts or practices in the conduct of their

 trade or commerce by:

                (1)     Knowingly exposing Plaintiffs and the class to highly toxic, unsafe, and

                        injurious content while providing content moderation services for

                        Facebook;

                (2)     Concealing the known danger to Plaintiffs and the class, of which

                        Defendants were aware based upon prior similar injuries to other workers

                        as well as explicit warnings by industry groups specifically identifying the

                        danger or exposing employees to highly toxic, unsafe, and injurious content

                        while providing content moderation services that was virtually certain to

                        cause injury to Plaintiffs and the class;




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                (3)    Refusing, despite the known risks, to implement proper precautions to

                       protect Plaintiffs and the class from the known dangers of being exposed to

                       highly toxic, unsafe, and injurious content while providing content

                       moderation services;

                (4)    Preventing Plaintiffs and the class from becoming aware of the scope of the

                       danger caused by providing content moderation services for Facebook by,

                       inter alia, forcing Plaintiffs and the class to sign broad NDAs and

                       preventing them from discussing the dangers with new employees or other

                       persons;

                (5)    By deliberately concealing and misrepresenting these dangers to Plaintiffs

                       and the class by, inter alia, falsely advertising the job as a prestigious career

                       in high technology that simply required them to become knowledgeable

                       about “leading social media products and community standards,” to “assist

                       our community and help resolve inquiries empathetically, accurately and on

                       time,” and to “make well balanced decisions and personally driven to be an

                       effective advocate for our community”; and

                (6)    Shutting down Cognizant’s Tampa office in February 2020, laying off its

                       workforce and leaving content moderators, including Plaintiffs and the

                       class, with no means of obtaining requisite ongoing medical monitoring,

                       screening, diagnosis, or adequate treatment after suffering psychological

                       trauma during their employment.

        150.    Defendants’ unfair or deceptive acts or practices caused the injury of the Plaintiffs

 and the class, including PTSD and other psychological disorders, physical injuries including stroke



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 and epilepsy, and other injuries, including lost pay, lost future earning capacity, emotional distress

 and loss of enjoyment of life.

        151.    Defendants knew or should have known that their conduct was unfair or deceptive.

        152.    Defendants willfully used the aforestated unfair or deceptive acts or practices to

 victimize persons with disabilities, including PTSD and other psychological disorders, and

 therefore are liable for a civil penalty of not more than $15,000 for each such violation pursuant

 to Fla. Stat. § 501.2077.

        153.    Pursuant to Fla. Stat. § 501.211, Plaintiffs and the class are entitled to the following

 relief: (1) a declaratory judgment that Defendants’ actions constitute unfair or deceptive acts or

 practices; (2) an order enjoining Defendants from continuing to violate the law; (3) actual damages;

 (4) attorney’s fees and court costs as provided in Fla. Stat. § 501.2105.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, individually and on behalf of the class, requests that the Court:

        a.      Certify this action as a class action, with a class as defined above;

        b.      Find that Plaintiffs are proper representatives of the class, and appoint the

                undersigned as class counsel;

        c.      Order Defendants to pay for notifying class members of the pendency of this suit;

        d.      Order Defendants to create a medical monitoring fund for the benefit of Plaintiffs

                and the class;

        e.      Award declaratory and injunctive relief as is necessary to protect the interests of

                Plaintiffs and class members, including by enjoining Defendants from continuing

                to conduct business through the unlawful and unfair practices alleged herein,

                ordering Defendants to implement safety guidelines for all prospective content



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              moderation operations in Florida and Arizona, and ordering Defendants to

              establish a fund to pay for a medical monitoring program, to facilitate the ongoing

              screening, diagnosis, and adequate treatment of Plaintiffs and the class for

              psychological trauma including to prevent or mitigate conditions such as PTSD –

              until it can be determined that psychological trauma is no longer a threat to their

              health;

      f.      Award Plaintiffs and class members actual and compensatory damages, including

              but not limited to lost pay, medical expenses, lost future earning capacity,

              emotional distress and loss of enjoyment of life;

      g.      Award Plaintiffs and class members their reasonable litigation expenses and

              attorneys’ fees pursuant to applicable law, including but not limited to Fla. Stat. §

              501.2105; and

      h.      Award any further relief that the Court deems just and equitable.

                                DEMAND FOR JURY TRIAL

      Plaintiffs hereby request trial by jury.

                                                 Respectfully submitted,

                                                 /s/ Jay P. Lechner________
                                                 LECHNER LAW
                                                 Jay P. Lechner, Esq.
                                                 Florida Bar No.: 0504351
                                                 Jay P. Lechner, P.A.
                                                 Fifth Third Center
                                                 201 E. Kennedy Blvd., Suite 412
                                                 Tampa, Florida 33602
                                                 Telephone: (813) 842-7071
                                                 jplechn@jaylechner.com
                                                 shelley@jaylechner.com
                                                 Attorneys for Plaintiff




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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 6th day of March, 2020, I electronically filed the
 foregoing with the Clerk of the Court by using the Florida Courts E-Filing Portal, and that a true
 and correct copy of the foregoing was served by email to all counsel of record.

                                                             /s/ Jay P. Lechner
                                                             Attorney




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